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CLERK, U.S. DISTRICT COURT

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT __ [BY He VT OF CALEORNIA
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER:

UNITED STATES OF AMERICA PLAINTIFF Sh CR AO _ | Al, _ Dp O C

 

DEFENDANT !

 

¥V.
Sas oN Fon) WAIVER OF INDICIMENT

 

I, Jas EV" Fon the above-named defendant,

_

who is accused of nS, Anaad - _ eva .
violation of ~&uUuSsSC Z. mer vy being

advised of the nature of the charge; the proposed oo and of my rights, hereby waive in open court on

 

 

» prosecution by indictment and consent that the proceedings may be by

 

information rather than by indictment.

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Date
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lo/\9lao
Date. Before: Judicial Officer ~

KAREN E. SCOTT

If the defendant does not speak English, complete the following:

 

 

 

 

 

I, , am fluent in written and spoken English and
languages, J accurately translated this Waiver of Indictment from English to

for defendant on this date.

Date Interpreter

 

CR-57 (06/14) ; WAIVER OF INDICTMENT
